Case 2:10-md-02179-CJB-DPC Document 6715-1 Filed 06/20/12 Page 1 of 65




               EXHIBIT 1
   Case 2:10-md-02179-CJB-DPC  Document 14
        Case TXS/4:10-cv-01854 Document 6715-1
                                           FiledFiled 06/20/12
                                                06/12/12   PagePage
                                                                1 of 52 of 65



       BEFORE THE JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

In Re: Oil Spill by the Oil Rig “Deepwater Horizon”              MDL No. 2179
in the Gulf of Mexico, On April 20, 2010
                                                                 SECTION: J

                                                                 Judge Barbier
                                                                 Mag. Judge Shushan
This Document Relates to:
Joshua Kritzer, et al. v. Transocean, Ltd., et al. S.D. Texas C.A. 4:10-1854

     Plaintiff Rhonda Burkeen’s Motion for Remand to Transferor Court

       The Panel should remand this case to the Transferor court because common discovery

and pretrial proceedings are complete.

                                              I.

                                            Facts

       Aaron “Dale” Burkeen worked for Transocean for 10 years. He was happily married

to Rhonda Burkeen and they had a son together. Dale also helped raise his daughter from a

prior relationship. April 20, 2010 would have been Rhonda and Dale’s eighth wedding

anniversary. Tragically, he was killed in the Deepwater Horizon explosion that day. Rhonda

and Dale’s children can take some comfort knowing that Dale died a hero. After the first

explosion, instead of evacuating, Dale stayed to cradle the crane so it would not pose a

danger to his fellow crew members as they rushed to the rig’s life boats. After securing the

crane, he tried to escape the flames via a staircase in an attempt to escape the rig.

Unfortunately, the second blast went off. It blew Burkeen from the staircase to the floor.

       As a result of this tragedy, Rhonda filed a Jones Act wrongful death suit on behalf of

herself and her and Dale’s children. She filed the case in Texas state court against BP,

Cameron, Transocean, and Halliburton. Cameron improperly removed her case to federal
    Case 2:10-md-02179-CJB-DPC  Document 14
         Case TXS/4:10-cv-01854 Document 6715-1
                                            FiledFiled 06/20/12
                                                 06/12/12   PagePage
                                                                 2 of 53 of 65



court. Burkeen filed her first Motion to Remand the case to state court in May 2010. 1 The

Panel transferred her case to MDL-2179 before the federal court in Texas ruled on the

motion.2 Ex. A (JPML transfer order). The Transferee court separated each type of claim

pending in MDL-2179 into “bundles.” Ex. B (Pretrial Order #11 at pg. 2). Bundle A

encompasses “all personal injury and wrongful death claims resulting directly from the

events of April 20, 2010.” Id. Burkeen’s case falls into this category.

        The Transferee court also decided to try cases that were transferred to MDL-2179.

Ex. C (Pretrial Order #41). The trial was designed to be wide-ranging and was supposed to

address “all allocation of fault issues . . . including the negligence, gross negligence, or other

bases of liability of, and the proportion of liability allocable to, the various defendants . . .”

Id. The first trial phase was scheduled to begin on February 27, 2012. Id. Phase One was

to “address issues arising out of the conduct of various parties . . . relevant to the loss of well

control at the Macondo Well [and] the ensuing fire and explosion on the MODU

DEEPWATER HORIZON on April 20, 2010 . . .”                              Id.   In short, Phase One would

concentrate on which parties were responsible for the damages sustained by victims of the

actual explosion (like the Burkeen family) and allocate fault to each responsible party.3

Discovery and pretrial proceedings concluded and the Court issued guidelines to the media

who wanted to report on the trial proceedings. Ex. D; See also Ex. E at n. 2. The day before

trial was scheduled to begin, the Court sua sponte ordered a one week continuance. Ex. F.

The continuance was not granted because more discovery was needed or because the case

1
  Burkeen has filed two additional motions to remand to state court since her case was transferred to MDL-2179, but
they have not been ruled on.
2
  The Transferor Judge was the Honorable Sim Lake. The case was pending in the Southern District of Texas. The
style of the case was Joshua Kritzer, et al v. Transocean, Ltd., et al, C.A. 4:10-CV-01854.
3
  The remaining trial phases were to address the subsequent oil spill and would have no effect on Bundle A cases
like Burkeen’s. Id.

                                                        2
   Case 2:10-md-02179-CJB-DPC  Document 14
        Case TXS/4:10-cv-01854 Document 6715-1
                                           FiledFiled 06/20/12
                                                06/12/12   PagePage
                                                                3 of 54 of 65



was not ready for trial. Instead, it was granted because the PSC and BP were on the verge of

entering into a putative class action settlement and the Court wanted to give the parties more

time to negotiate. Id. The putative class action settlement does not include Bundle A claims

like Burkeen’s

       Since pretrial proceedings are complete, Burkeen requested that the Transferee court

file a suggestion of remand with the Panel. Ex. G. The Transferee court did not rule on

Burkeen’s motion. As a result, Burkeen now asks the Panel to remand her case pursuant to

Panel Rule 10.3.     An affidavit in compliance with this Rule is attached as Exhibit H.

Burkeen asks the Panel to remand her case because an MDL court only has authority to

preside over pretrial proceedings. It has no authority to actually try cases that are transferred

to it. When pretrial proceedings are concluded, the case must be transferred to the Transferor

court. Here, it is clear that pretrial proceedings are concluded for Bundle A claims like

Burkeen’s. Consequently, the Panel should grant Burkeen’s motion and remand her case to

the Transferor court.

                                               II.

                        The Court Should Grant Burkeen’s Motion

       Burkeen’s case was transferred to MDL-2179 pursuant to 28 U.S.C. § 1407 for

“coordinated or consolidated pretrial proceedings.” Ex. A; See also 28 U.S.C. § 1407(a).

Section 1407 “imposes a duty on the Panel to remand any such action to the original district

‘at or before the conclusion of such pretrial proceedings.’” Lexecon Inc. v. Milberg Weiss

Bershad Hynes & Lerach, 523 U.S. 26, 28 (1988); In re Vioxx Products Liab. Litig., 478 F.

Supp. 2d 897, 903 (E.D. La. 2007) (“[I]t is clear that the court cannot try these cases, but

rather must remand them to the transferor forum when pretrial discovery is complete.”).

                                               3
    Case 2:10-md-02179-CJB-DPC  Document 14
         Case TXS/4:10-cv-01854 Document 6715-1
                                            FiledFiled 06/20/12
                                                 06/12/12   PagePage
                                                                 4 of 55 of 65



         Here, there can be no dispute that pretrial proceedings are complete. The Transferee

court intended to try all issues related to liability on Bundle A claims more than three months

ago. “Pretrial” proceedings are obviously complete when the actual trial is ready to begin.

Moreover, Phase One discovery has been complete for some time.                                        See Ex. E.

Consequently, the Panel should remand this case.4

                                                         III.

                                                   Conclusion

         The Panel should grant Burkeen’s motion.

                                                      Respectfully submitted,

                                                      ARNOLD & ITKIN LLP

                                                      /s/ Kurt B. Arnold

                                                      Kurt B. Arnold
                                                      Texas State Bar No. 24036150
                                                      karnold@arnolditkin.com
                                                      Jason A. Itkin
                                                      Texas State Bar No. 24032461
                                                      jitkin@arnolditkin.com
                                                      Cory D. Itkin
                                                      Texas State Bar No. 24050808
                                                      catkin@arnolditkin.com
                                                      1401 McKinney St., Suite 2550
                                                      Houston, Texas 77010
                                                      Telephone: (713) 222-3800
                                                      Facsimile: (713) 222-3850

                                                      COUNSEL FOR PLAINTIFF,
                                                      RHONDA BURKEEN



4
  If the Panel grants Burkeen’s motion, it will not result in a flood of other litigants seeking remand. There are only
approximately 6 Bundle A claims that are still pending in MDL-2179. The vast majority of MDL-2179 claims fall
outside of Bundle A. Pretrial proceedings for those cases are not yet complete (and the nearly all of them will be
disposed of in the putative class action settlement that the Transferee court is evaluating). Consequently, granting
this motion will have little, if any, effect on the Transferee court’s ability to manage MDL-2179.

                                                          4
  Case 2:10-md-02179-CJB-DPC  Document 14
       Case TXS/4:10-cv-01854 Document 6715-1
                                          FiledFiled 06/20/12
                                               06/12/12   PagePage
                                                               5 of 56 of 65



                            CERTIFICATE OF SERVICE

       I hereby certify that on June 12, 2012, the above and foregoing Plaintiff Rhonda
Burkeen’s Motion for Remand to Transferor Court has been electronically filed
through the Court's CM/ECF system, which will send a notice of electronic filing to all
counsel of record.

                                        /s/ Kurt B. Arnold
                                        Kurt B. Arnold




                                           5
CaseCase
    2:10-md-02179-CJB-DPC   Document14-1
         TXS/4:10-cv-01854 Document  6715-1
                                         FiledFiled 06/20/12
                                                06/12/12     Page
                                                          Page 1 of74of 65




            EXHIBIT “A”
   CaseCase
       2:10-md-02179-CJB-DPC
        CaseTXS/4:10-cv-01854   Document14-1
             TXS/4:10-cv-01854 Document
                                Document 6715-1
                                         11   FiledFiled
                                             Filed       06/20/12
                                                   11/30/10
                                                     06/12/12 PagePage
                                                               Page12ofof384of 65



                             UNITED STATES JUDICIAL PANEL
                                         on
                              MULTIDISTRICT LITIGATION


IN RE: OIL SPILL BY THE OIL RIG “DEEPWATER HORIZON”
IN THE GULF OF MEXICO, ON APRIL 20, 2010                                               MDL No. 2179


                                       TRANSFER ORDER


        Before the entire Panel: Plaintiffs in the three actions listed on Schedule A have moved,
pursuant to former Rule 7.4, R.P.J.P.M.L., 199 F.R.D. 425, 435-36 (2001),1 to vacate the respective
portions of our orders conditionally transferring the actions (Kritzer, M.P. Cheng, and Pappas
Restaurant) to the Eastern District of Louisiana for inclusion in MDL No. 2179. Responding
defendants BP plc, BP America Inc., Cameron International Group, Halliburton Energy Services,
Inc., and Sperry-Sun Drilling Services, Inc., submitted responses in opposition to all three motions.
Defendants Transocean Offshore Drilling, Inc., Transocean Deepwater, Inc., and Triton Leasing
GmbH submitted a response in opposition to the Kritzer plaintiffs’ motion.

         After considering all argument, we find that these actions involve common questions of fact
with actions in this litigation previously transferred to the Eastern District of Louisiana, and that
transfer of these actions to the Eastern District of Louisiana for inclusion in MDL No. 2179 will
serve the convenience of the parties and witnesses and promote the just and efficient conduct of this
litigation. We further find that transfer of these actions is warranted for the reasons that we set out
in our original order directing centralization in this docket. In that order, we held that the Eastern
District of Louisiana was an appropriate Section 1407 forum for actions sharing factual issues
concerning the cause (or causes) of the Deepwater Horizon explosion/fire and ensuing oil spill, and
the role, if any, that each defendant played in that incident. See In re: Oil Spill by the Oil Rig
Deepwater Horizon in the Gulf of Mexico, on April 20, 2010, ___ F.Supp.2d ___, 2010 WL
3166434, at *2 (J.P.M.L. Aug. 10, 2010).

        In opposing transfer, plaintiffs argue, inter alia, that their claims will require some unique
discovery (e.g., with respect to damages), and that transfer should not take place, if at all, until the
Southern District of Texas court has ruled on the pending motions for remand to state court in
Kritzer and M.P. Cheng.2 We do not find these arguments persuasive. Although these actions may
present one or more non-common issues, that is true of most, if not all, of the actions already in
MDL No. 2179. Section 1407 does not require a complete identity or even a majority of common
factual issues as a prerequisite to centralization. See In re Denture Cream Prods. Liab. Litig., 624
F.Supp.2d 1379, 1381 (J.P.M.L. 2009). The Kritzer and M.P. Cheng plaintiffs can present their


   1
       Amended Panel Rules became effective on October 4, 2010.
   2
       Remand was denied in Pappas Restaurant.
   CaseCase
       2:10-md-02179-CJB-DPC
        CaseTXS/4:10-cv-01854   Document14-1
             TXS/4:10-cv-01854 Document
                                Document 6715-1
                                         11   FiledFiled
                                             Filed       06/20/12
                                                   11/30/10
                                                     06/12/12 PagePage
                                                               Page23ofof394of 65



                                                -2-

remand motions to the transferee judge. See, e.g., In re Ivy, 901 F.2d 7 (2d Cir. 1990); In re
Prudential Ins. Co. of America Sales Practices Litig., 170 F.Supp.2d 1346, 1347-48 (J.P.M.L. 2001).

       IT IS THEREFORE ORDERED that, pursuant to 28 U.S.C. § 1407, the actions listed on
Schedule A are transferred to the Eastern District of Louisiana, and, with the consent of that court,
assigned to the Honorable Carl J. Barbier for inclusion in the coordinated or consolidated pretrial
proceedings occurring there in this docket.


                                      PANEL ON MULTIDISTRICT LITIGATION




                                                        John G. Heyburn II
                                                            Chairman

                                      Kathryn H. Vratil                  David R. Hansen
                                      W. Royal Furgeson, Jr.             Frank C. Damrell, Jr.
                                      Barbara S. Jones                   Paul J. Barbadoro
 Case Case
      2:10-md-02179-CJB-DPC
       CaseTXS/4:10-cv-01854  Document
            TXS/4:10-cv-01854 Document  6715-1
                               Document14-1
                                        11 Filed Filed
                                             Filed     06/20/12
                                                  11/30/10
                                                    06/12/12    Page
                                                             Page
                                                              Page34ofof10
                                                                        34 of 65



IN RE: OIL SPILL BY THE OIL RIG “DEEPWATER HORIZON”
IN THE GULF OF MEXICO, ON APRIL 20, 2010                                     MDL No. 2179


                                     SCHEDULE A


            Southern District of Texas

     Joshua Kritzer, et al. v. Transocean, Ltd., et al., C.A. No. 4:10-1854
     M.P. Cheng, LLC, et al. v. BP Co. North America, Inc., et al., C.A. No. 4:10-2717
     Pappas Restaurant, Inc. v. Transocean, Ltd., et al., C.A. No. 3:10-303
CaseCase
    2:10-md-02179-CJB-DPC   Document14-2
         TXS/4:10-cv-01854 Document  6715-1
                                         FiledFiled 06/20/12
                                                06/12/12     Page
                                                          Page 1 of11
                                                                   19of 65




            EXHIBIT “B”
     Case 2:10-md-02179-CJB-DPC
         Case
       Case  2:10-md-02179-CJB-SS Document
               TXS/4:10-cv-01854 Document
                                   Document6715-1
                                          14-2      Filed
                                            569 Filed      06/20/12
                                                       06/12/12
                                                   Filed 10/19/10PagePage1 12
                                                                       2 of
                                                                    Page       of 65
                                                                            1914
                                                                            of




                                UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA


In re: Oil Spill by the Oil Rig                   *          MDL No. 2179
       “Deepwater Horizon” in the Gulf            *
       of Mexico, on April 20, 2010               *          SECTION: J
                                                  *
          Applies to: All Cases.                  *          JUDGE BARBIER
                                                  *          MAGISTRATE SHUSHAN
*     *    *   *   *    *   *      *    *   *   * *


                                       PRETRIAL ORDER NO. 11

                            [CASE MANAGEMENT ORDER NO. 1]

          Considering the need for organization of this complex litigation, the submissions and

suggestions of counsel in connection with the initial Status Conference held on September 16,

2010, conferences held with Liaison Counsel on September 29, 2010 and October 14, 2010, the

Status Conference held on October 15, 2010, and the Manual for Complex Litigation, Fourth,

Sections 22.6, 22.61, 22.62, and 22.63, the Court adopts the following Case Management Order

No. 1. It is hereby ORDERED as follows:


I.        APPLICABILITY OF ORDER

          This Order shall govern all cases (1) transferred to this Court by the Judicial Panel on

Multidistrict Litigation, pursuant to its Order of August 10, 2010; (2) any tag-along actions
  Case 2:10-md-02179-CJB-DPC
      Case
    Case  2:10-md-02179-CJB-SS Document
            TXS/4:10-cv-01854 Document
                                Document6715-1
                                       14-2      Filed
                                         569 Filed      06/20/12
                                                    06/12/12
                                                Filed 10/19/10PagePage2 13
                                                                    3 of
                                                                 Page       of 65
                                                                         1914
                                                                         of




subsequently transferred to this Court by the Judicial Panel on Multidistrict Litigation pursuant

to Rule 7.4 of the Rules of Procedure of that Panel; and (3) all related cases originally filed in

this Court or transferred or removed to this Court. This Order does not supersede prior Pretrial

Orders issued in this proceeding, which shall remain in effect except to the extent inconsistent

with the provisions herein.

II.    FILING OF CASE MANAGEMENT ORDER NO. 1

       This Order shall apply to all cases removed to, or transferred to, this Court and cases

presently and subsequently filed in this Court that are within the subject matter of this MDL and

shall be deemed filed in each of these matters.

III.   PLEADING BUNDLES

       This proceeding is hereby separated into the following Pleading Bundles for purposes for

the filing of complaints, answers and any Rule 12 motions. The Pleading Bundles set forth in

this Order are provisional and may be modified on the Court’s own motion or for good cause

shown by any party.

       A.      Personal Injury and Death. Includes all personal injury and wrongful death

               claims resulting directly from the events of April 20, 2010. Such cases will be

               pled individually and shall not be included in any other Pleading Bundles or

               Master Complaints.




                                                                                           Page 2
Case 2:10-md-02179-CJB-DPC
    Case
  Case  2:10-md-02179-CJB-SS Document
          TXS/4:10-cv-01854 Document
                              Document6715-1
                                     14-2      Filed
                                       569 Filed      06/20/12
                                                  06/12/12
                                              Filed 10/19/10PagePage3 14
                                                                  4 of
                                                               Page       of 65
                                                                       1914
                                                                       of




    B.    Private Individuals and Business Loss Claims. These Pleading Bundles will

          each be pled pursuant to Master Complaints as delineated below, and will include

          the following types of claims:

          B1.    Non-Governmental Economic Loss and Property Damages. This

                 Pleading Bundle will include, inter alia, the following types of current and

                 anticipated claims: (i) Robins Dry Dock claims; (ii) OPA claims; and (iii)

                 state law claims, which will be set forth, for administrative purposes, in

                 one or more administrative Master Complaints.

          B2.    RICO Claims. In light of determinations as may be made by the MDL

                 Panel regarding the transfer and/or coordination of pending RICO actions,

                 Plaintiffs Liaison Counsel shall confer with Defense Liaison Counsel and

                 with the Court by December 15, 2010, regarding the consolidation and/or

                 coordination of RICO pleadings.

          B3.    Post-Explosion Clean-Up Claims. This Pleading Bundle will include all

                 claims related to post-explosion clean-up efforts and will be pled

                 separately and uniformly in a Master Complaint, and such claims shall not

                 be included in any other Pleading Bundles or Master Complaints.

          B4.    Post-Explosion Emergency Responder Claims. This Pleading Bundle

                 will include all claims against the alleged owners and/or operators of

                 rescue vessels that answered the Deepwater Horizon distress call and


                                                                                      Page 3
Case 2:10-md-02179-CJB-DPC
    Case
  Case  2:10-md-02179-CJB-SS Document
          TXS/4:10-cv-01854 Document
                              Document6715-1
                                     14-2      Filed
                                       569 Filed      06/20/12
                                                  06/12/12
                                              Filed 10/19/10PagePage4 15
                                                                  5 of
                                                               Page       of 65
                                                                       1914
                                                                       of




                 responded to the emergency after the explosion.          Plaintiffs Liaison

                 Counsel shall confer with counsel for the plaintiffs in any such actions, in

                 order to determine whether such claims should be pursued further, by

                 existing complaint(s), amended complaint(s), an administrative Master

                 Complaint, or Consolidated Complaint.

    C.    Public Damage Claims. These claims brought by governmental entities for,

          inter alia, loss of resources, loss of tax revenues, response costs and civil

          penalties shall not be included in any other Pleading Bundles or Master

          Complaints; however, counsel representing governmental entities shall meet and

          confer among themselves and with Plaintiffs’ Liaison Counsel to discuss the

          desirability of a Master Complaint for governmental claims. Plaintiffs’ Liaison

          Counsel shall thereafter discuss the desirability of a Master Complaint with

          Defense Liaison Counsel and report to the Court prior to the November 2010

          Status Conference.

    D.    Injunctive and Regulatory Claims. These claims brought by private parties

          challenging regulatory action or authority and/or seeking injunctive relief will

          each be pled pursuant to Master Complaints as delineated below, and will include

          the following types of claims:

          D1.    Claims Against Private Parties. These claims will be pled separately and

                 uniformly in a Master Complaint.


                                                                                      Page 4
  Case 2:10-md-02179-CJB-DPC
      Case
    Case  2:10-md-02179-CJB-SS Document
            TXS/4:10-cv-01854 Document
                                Document6715-1
                                       14-2      Filed
                                         569 Filed      06/20/12
                                                    06/12/12
                                                Filed 10/19/10PagePage5 16
                                                                    6 of
                                                                 Page       of 65
                                                                         1914
                                                                         of




            D2.    Claims Against the Government or any Government Official or

                   Agency. These claims will be pled separately and uniformly in a Master

                   Complaint.

      E.    Designation of Subsequently-Added Cases. All cases subsequently added to

            this proceeding as a tag-along action or by removal or transfer to or original filing

            with this Court shall be assigned to a Pleading Bundle, as necessary or

            appropriate, in accordance with the above.

IV.   TIMING FOR FILING OF PLEADING

      A.    Filing of Complaints. Master Complaints, as designated above, shall be filed by

            December 15, 2010. In existing cases for Pleading Bundles not subject to the

            filing of a Master Complaint, amended complaints, if any, must be filed by

            December 15, 2010, (or otherwise for good cause shown).

      B.    Defendants’ Responses. Defendants’ shall each file responses to the Master

            Complaints in Pleading Bundles B and D, and to the complaints or amended

            complaints in Pleading Bundles A and C not previously answered, by January 18,

            2011. If a Defendant files a motion under Rule 12(b) or 12(c) to a complaint or

            Master Complaint within Pleading Bundles B, C or D, no Answer need be filed

            by that Defendant until thirty (30) days after the Court has ruled on such motion.

            With respect to actions in Pleading Bundle A, an Answer to each complaint or

            amended complaint shall be filed by each named Defendant on or before March


                                                                                          Page 5
Case 2:10-md-02179-CJB-DPC
    Case
  Case  2:10-md-02179-CJB-SS Document
          TXS/4:10-cv-01854 Document
                              Document6715-1
                                     14-2      Filed
                                       569 Filed      06/20/12
                                                  06/12/12
                                              Filed 10/19/10PagePage6 17
                                                                  7 of
                                                               Page       of 65
                                                                       1914
                                                                       of




          18, 2011, regardless of whether any motions to dismiss are brought pursuant to

          Federal Rules of Civil Procedure 12(b)(1), 12(b)(6) or 12(c), with the exception

          that no answer will be due by a defendant asserting a Rule 12(b)(2) motion prior

          to resolution of such motion.

          Prior to the briefing and hearing of any Rule 12(b)(2) motions, the parties will be

          permitted to engage in discovery related to jurisdiction over any Defendant that

          has raised a jurisdictional challenge.

          Memoranda in Opposition to any Rule 12(b)(1), 12(b)(6) or 12(c) motions shall

          be filed by February 18, 2011. Reply Briefs shall be filed by March 18, 2011.

          The Court will set oral argument on such motions as soon thereafter as the Court

          deems appropriate.

          Any third-party complaints or cross-claims by Defendants named in the Pleading

          Bundle A actions must also be filed by March 18, 2011.

    C.    RICO Pleadings. Plaintiffs Liaison Counsel shall confer with Defense Liaison

          Counsel and with the Court by December 15, 2010, regarding the deadlines for

          the filing of any RICO pleadings and responses thereto. No responsive pleading

          to any complaint alleging RICO claims shall be required pending further order of

          the Court.

    D.    Claims in Transocean's Limitation Action. In the Transocean Limitation,

          Docket No 10-2771, which was transferred from the Southern District of Texas


                                                                                      Page 6
     Case 2:10-md-02179-CJB-DPC
         Case
       Case  2:10-md-02179-CJB-SS Document
               TXS/4:10-cv-01854 Document
                                   Document6715-1
                                          14-2      Filed
                                            569 Filed      06/20/12
                                                       06/12/12
                                                   Filed 10/19/10PagePage7 18
                                                                       8 of
                                                                    Page       of 65
                                                                            1914
                                                                            of




               by order of that Court dated August 16, 2010, all claims were ordered to be filed

               within said limitation, on or before November 15, 2010. Said Orders of the

               Southern District of Texas Court are hereby amended to extend said claims

               (monition) date to April 20, 2011.

               Transocean’s Rule 14(c) claims asserted in connection with the Limitation shall

               be asserted on or before February 18, 2011.

               Answer to Transocean’s Rule 14(c) claims shall be filed on or before March 18,

               2011, together with any cross-claims or other third-party complaints asserted by

               the Rule 14(c) Defendants in connection with the Limitation. Any answer or

               other responsive pleading to cross-claims or third-party complaints by Rule 14(c)

               Defendants in the Limitation shall be filed on or before April 20, 2011.

               All claims in the Limitation action are to be filed in member case 10-2771 as per

               the Court’s August 24, 2010 Order.


V.       DISCOVERY

         A.    Plaintiffs’ Initial Omnibus Requests. Based on the Court’s having granted

               Plaintiffs’ motion to lift stay for purposes of serving initial discovery [Doc 509],

               Plaintiffs are deemed to have served an initial set of Omnibus Requests for

               Production and/or Interrogatories on All Defendants [Doc 510-1] on October 15,

               2010.



                                                                                            Page 7
Case 2:10-md-02179-CJB-DPC
    Case
  Case  2:10-md-02179-CJB-SS Document
          TXS/4:10-cv-01854 Document
                              Document6715-1
                                     14-2      Filed
                                       569 Filed      06/20/12
                                                  06/12/12
                                              Filed 10/19/10PagePage8 19
                                                                  9 of
                                                               Page       of 65
                                                                       1914
                                                                       of




          The Defendants’ responses shall be due on or before November 15, 2010.

          On or before December 1, 2010, Defendants shall provide a description of all

          sources of electronic data which may have potentially relevant information, but

          which Defendants do not intend to search on the basis that such data is alleged to

          be not reasonably accessible due to undue burden or cost, (in accordance with

          Rule 26(b)(2)(B)).

          On or before December 31, 2010, Defendants shall provide privilege logs with

          respect to any documents withheld on the basis of attorney-client privilege or

          work product.

    B.    Phase I Discovery.

          1.     Jurisdiction. In the event that any named Defendant challenges

                 jurisdiction by motion pursuant to Rule 12(b)(2), discovery limited to

                 jurisdictional issues versus any moving Defendant shall proceed

                 expeditiously thereafter.   With respect to any defendant objecting to

                 personal jurisdiction, the discovery obligations set forth herein will be

                 imposed in the event that personal jurisdiction is established, to

                 commence expeditiously upon order of the Court.

          2.     Casualty and Spill Liability, Limitation and Related Issues. Discovery

                 will be focused on the activities and events leading up to and including

                 April 20, 2010 Macondo well incident and resulting explosion, fire and


                                                                                     Page 8
Case 2:10-md-02179-CJB-DPC
   Case
  Case  2:10-md-02179-CJB-SS Document
          TXS/4:10-cv-01854 Document   6715-1
                                     14-2
                              Document  569FiledFiled 06/20/12
                                                 06/12/12
                                              Filed 10/19/10PagePage
                                                                 10 9of20
                                                               Page        of 65
                                                                       of1914




                 loss of the rig. Discovery will also include discovery of issues relating to

                 the cause or causes and extent of the associated oil spill, and the cause or

                 causes of damages alleged to have resulted therefrom.

          3.     Environmental Samples (and Related Issues).             In addition to the

                 requests in Plaintiffs’ Initial Omnibus Discovery Requests, the parties

                 anticipate that additional discovery relating to environmental sampling

                 will be initially in the form of third-party subpoenas and/or FOIA requests

                 directed primarily to U.S. and State Agencies.       Such discovery may

                 commence immediately. The parties shall also meet and confer with one

                 another and, to the extent appropriate, with third parties, regarding the

                 preservation and/or testing of physical samples which have been collected

                 and maintained, as well as broader first-party discovery regarding the

                 environmental impacts of the spill. Such first-party (and/or third-party)

                 discovery may also extend to general proximate cause issues relating to

                 the extent and effects of the spill.

          4.     Information Systems and Management Information Systems. Should

                 Defendants object to any discovery requests propounded to them based

                 upon claims of undue burden or that responsive information is not

                 reasonably accessible, Plaintiffs may immediately thereafter commence

                 discovery regarding such claims.


                                                                                      Page 9
Case
 Case2:10-md-02179-CJB-DPC
   Case2:10-md-02179-CJB-SS Document
         TXS/4:10-cv-01854 Document   6715-1
                                    14-2
                             Document 569 Filed Filed 06/20/12
                                                 06/12/12
                                             Filed  10/19/10PagePageof21
                                                                 1110
                                                              Page     19of
                                                                       of 1465




    C.    Plaintiffs’ Initial Disclosures.      Plaintiffs Liaison Counsel shall confer with

          Defense Liaison Counsel and present to the Court an agreed (to the extent

          possible) one-page Plaintiff Profile Form (“PPF”) to be provided by counsel for

          Plaintiffs who have filed suit in the MDL on the later of (a) November 15, 2010,

          or (b) sixty days from the date of Removal or the filing of the Plaintiff’s

          Complaint.

          Plaintiffs’ Liaison Counsel may confer with BP Liaison counsel and the

          Administrators of the Gulf Coast Claims Facility (“GCCF”) regarding the

          feasibility   and/or   desirability   of   making   relevant   information    and/or

          documentation submitted by Plaintiffs who have filed actions in the MDL to the

          GCCF available to Defendants, (subject to appropriate confidentiality and privacy

          considerations), in order to complete the PPF and/or to facilitate other additional

          discovery as may be required over the course of the litigation.

    D.    Written Discovery Requests. Written discovery requests, and responses thereto,

          shall be made in accordance with the Federal Rules of Civil Procedure, except

          that the parties will be allowed to propound up to fifty (50) Interrogatories to each

          Defendant without leave of Court.

          In addition to the Initial Omnibus Requests, Plaintiffs may serve initial written

          discovery requests related to the Casualty, Spill and Limitations issues on or

          before November 1, 2010. Defendants may also serve written discovery requests


                                                                                       Page 10
  Case
   Case2:10-md-02179-CJB-DPC
     Case2:10-md-02179-CJB-SS Document
           TXS/4:10-cv-01854 Document   6715-1
                                      14-2
                               Document 569 Filed Filed 06/20/12
                                                   06/12/12
                                               Filed  10/19/10PagePageof22
                                                                   1211
                                                                Page     19of
                                                                         of 1465




            relating to Phase I Discovery issues on one another.

            Defendants shall serve their responses to Plaintiffs’ and/or Defendants’ initial

            written discovery requests by December 1, 2010.

      E.    Fact Depositions Regarding Casualty, Spill, Limitation and Related Issues.

            Fact depositions regarding blow-out, spill, limitation and related issues may

            commence on or after January 18, 2011.

VI.   TEST CASES

      A.    OPA. By January 18, 2011, Plaintiffs Liaison Counsel shall confer with Defense

            Liaison Counsel and the Court regarding the potential identification of one or

            more cases brought against BP as the designated “responsible party” under the Oil

            Pollution Act of 1990 to serve as test cases for liability and damage issues. To the

            extent there is disagreement between Plaintiffs and the BP Defendants regarding

            the prevailing law and procedure applicable to the timing and scope of such OPA

            test cases, Plaintiffs’ Liaison Counsel shall submit a single memorandum and

            Counsel for BP shall submit a single memorandum setting forth each side’s

            position. The Court shall, if and as appropriate, issue a separate Scheduling Order

            for the discovery and trial of such test cases, with the Court having indicated its

            intent to schedule one or more OPA test cases for trial by June 2011.




                                                                                       Page 11
  Case
   Case2:10-md-02179-CJB-DPC
     Case2:10-md-02179-CJB-SS Document
           TXS/4:10-cv-01854 Document   6715-1
                                      14-2
                               Document 569 Filed Filed 06/20/12
                                                   06/12/12
                                               Filed  10/19/10PagePageof23
                                                                   1312
                                                                Page     19of
                                                                         of 1465




       B.      Personal Injury / Wrongful Death and Robins Dry Dock Test Cases
               Associated with the February 2012 Limitation/Liability and Test Case Trial.

               By May 2, 2011, the Plaintiffs Steering Committee shall identify one or more

               personal injury / wrongful death test cases designated for bench trial under Rule

               9(h) and one or more Robins Dry Dock test cases designated for bench trial under

               Rule 9(h) for the February 2012 trial of liability, limitation, exoneration and fault

               allocation, as well as a phase two trial in July of 2012 on the questions of

               damages and punitive damages, if available. Discovery with respect to the test

               cases will commence immediately thereafter, subject to a separate Scheduling

               Order.

VII.   STAY OF CLASS ACTION MOTION PRACTICE AND DEADLINES

       Local Rule 23.1 and Federal Rule 23 motion practice and discovery on class certification

issues is hereby stayed for all cases until further order of this Court. Defendants resrve the right

to seek a schedule for consideration of class certification motions should the Master Complaints

in any pleading bundles assert class certification claims.

VIII. CLARIFICATION OF PRESERVATION REQUIREMENTS

       Section 14 of PTO No. 1 is clarified to expressly compel the BP Defendants to ensure the

preservation of any and all documents, electronic data, and other information provided to, or

generated within, the Gulf Coast Claims Facility (“GCCF”), and the predecessor BP claims

apparatus.



                                                                                           Page 12
     Case
      Case2:10-md-02179-CJB-DPC
        Case2:10-md-02179-CJB-SS Document
              TXS/4:10-cv-01854 Document   6715-1
                                         14-2
                                  Document 569 Filed Filed 06/20/12
                                                      06/12/12
                                                  Filed  10/19/10PagePageof24
                                                                      1413
                                                                   Page     19of
                                                                            of 1465




IX.      ANTICIPATED ADDITIONAL PRE-TRIAL ORDERS

         The parties shall meet to confer in good faith to negotiate the following joint and

stipulated, to the extent possible, pre-trial orders: (i) Order Relating to the Treatment of

Confidential Materials, (ii) Order Relating to the Treatment of Privileged Materials; (iii)

Deposition Protocol, (iv) Document Production Protocol, (v) E-Discovery Protocol, and (vi)

Protocol for the Service of Pleadings and Discovery, whether via Lexis-Nexis File & Serve or

otherwise. Such proposed orders shall be filed with the Court on or before November 1, 2010.

         In addition, the parties shall meet and confer regarding the desirability and feasibility of

an order facilitating the direct filing of actions into the MDL.

         Pre-Trial Order No. 9 governs the submission of time and expenses by attorneys who

may seek to make an application for common-benefit reimbursement and/or awards.

X.       FILING OF PLEADINGS

         All motions, requests for discovery or other pre-trial proceedings with respect to

plaintiffs shall be initiated by and/or coordinated through the Plaintiff Steering Committee

(“PSC”), to be filed by and through Plaintiffs’ Liaison Counsel. If the PSC does not support the

motion, discovery or other requested proceeding, then the moving or requesting plaintiff shall be

permitted to file such motion or request, but shall include a certificate of non-support.

XI.      TIMELINE

         For ease of reference, the deadlines contained herein are summarized in the Timeline

                                                                                            Page 13
  Case
   Case2:10-md-02179-CJB-DPC
     Case2:10-md-02179-CJB-SS Document
           TXS/4:10-cv-01854 Document   6715-1
                                      14-2
                               Document 569 Filed Filed 06/20/12
                                                   06/12/12
                                               Filed  10/19/10PagePageof25
                                                                   1514
                                                                Page     19of
                                                                         of 1465




attached as Exhibit “A” hereto.

XII.   SUPPLEMENTATION AND AMENDMENTS TO THIS ORDER

       This Order may be amended by Order of the Court in the interests of justice and/or in the

event that Congress legislates or directs amendments regarding any issue (including, but not

limited to, the availability of an exoneration/limitation defense) that affects any portion of the

Deepwater Horizon litigation.

       Further, the provisions of this Order are provisional and may be modified on the in the

interests of justice, expedience or judicial economy on Court’s own motion or motion by the

parties for good cause shown.

       New Orleans, Louisiana this _____
                                   19th day of October, 2010.




                                     ______________________________________
                                     CARL J. BARBIER
                                     UNITED STATES DISTRICT JUDGE




                                                                                         Page 14
 Case 2:10-md-02179-CJB-DPC
    Case
   Case                      Document
          TXS/4:10-cv-01854 Document
        2:10-md-02179-CJB-SS           6715-1
                                     14-2
                              Document     FiledFiled
                                        569-1         06/20/12
                                                 06/12/12
                                                Filed       PagePage
                                                      10/19/10   16 of26
                                                                Page    ofof465
                                                                      119




                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF LOUISIANA


In re: Oil Spill by the Oil Rig Deepwater     * MDL No. 2179
Horizon in the Gulf * of Mexico, on April 20, *
2010                                          * SECTION: J
                                              *
Applies to: All Cases.                        * JUDGE BARBIER
                                              *
                                              * MAGISTRATE SHUSHAN

***************************


                                  TIMELINE

                          Case Management Order No. 1

                                  Exhibit “A”
    Case 2:10-md-02179-CJB-DPC
       Case
      Case                      Document
             TXS/4:10-cv-01854 Document
           2:10-md-02179-CJB-SS           6715-1
                                        14-2
                                 Document     FiledFiled
                                           569-1         06/20/12
                                                    06/12/12
                                                   Filed       PagePage
                                                         10/19/10   17 of27
                                                                   Page    ofof465
                                                                         219



DATE             DEADLINE / EVENT

                 Meet & Confer regarding Pre-Trial Orders (confidentiality, privilege, deposition
                 protocol, document production protocol and e-discovery protocol, direct filing,
                 etc)

                 Meet & Confer regarding One-Page Plaintiff Profile Form (PPF) which may be
                 submitted by Counsel in lieu of Rule 26(a) Disclosures. Plaintiff and Defense
                 Liaison Counsel may confer with GCCF Administrators Regarding Feasibility of
                 Providing PPF Information

11-1-2010        Submit Proposed PTOs

11-1-2010        Plaintiffs’ Initial Written Phase I Discovery including discovery relating to
                 casualty and/or ensuing spill, as well as environmental sampling and testing,
                 personal jurisdiction, MIS/IT/IS, and general proximate cause issues relating to
                 OPA cases. Defendants may serve written discovery upon other defendants
                 relating to casualty and/or ensuing spill after this date.

11-1-2010         MIS 30(b)(6) Depositions May Begin (as necessary)

11-15-2010       Defendants Responses to Plaintiffs’ Initial Omnibus Discovery Requests on All
                 Defendants

11-15-2010       Counsel for Plaintiffs with Suits Filed Serve One-Page PPF in Lieu of Initial
                 Disclosures
                 (Or 60 Days After Filing or Removal, whichever is Later)

12-1-2010        Defendants’ Responses to Initial Written Discovery Served, Identification of the
                 Sources of E-Data Not Produced Due to Alleged “Inaccessibility” or other Undue
                 Burden or Cost, but Which May Include Evidence Relevant to these MDL
                 Proceedings.

12-15-2010       File Master Complaints (Bundles B1, B3 and D)

12-15-2010       Status Conference relating to RICO cases and potential Master Complaint for
                 RICO cases

12-31-2010       Defendants’ Privilege Logs served on Plaintiffs

1-18-2011        Rule 12 Motions or Answers to Complaints (Bundles B, C and D) 1

1-18-2011         Answers or Rule 12(b)(2) Motions (if any); Answers and Rule 12(b)(6) Motions

1
 Any jurisdictional discovery arising from Rule 12(b)(2) motions that may be filed will be expeditiously dealt with
by the parties through Liaison Counsel.
  Case 2:10-md-02179-CJB-DPC
     Case
    Case                      Document
           TXS/4:10-cv-01854 Document
         2:10-md-02179-CJB-SS           6715-1
                                      14-2
                               Document     FiledFiled
                                         569-1         06/20/12
                                                  06/12/12
                                                 Filed       PagePage
                                                       10/19/10   18 of28
                                                                 Page    ofof465
                                                                       319



             (if any) (Bundle A)

1-18-2011    Status conference, preceded by meet and confers to discuss identification of OPA
             Test Cases vs. BP and to discuss scheduling order/trial of same; in advance of
             such status conference, Defense Liaison will furnish a single memorandum and
             Plaintiffs Liaison shall furnish a single memorandum discussing their view of
             what the procedure and law would be for such OPA test cases.

1-18-2011    Fact Discovery Depositions on Casualty and/or Ensuing Spill Commence

2-18-2011    Oppositions to Rule 12 Motions to Dismiss

2-18-2011    Transocean Rule 14(c) Tenders or Claims in the Limitation

3-18-2011    Answer, Cross-Claims and Third-Party Complaints by 14(c) Defendants in the
             Limitation and/or Defendants in the Bundle A Cases

3-18-2011    Reply Briefs in Support of Motions to Dismiss

4-20-2011    Deadline for answers and responsive pleadings to cross-claims and third-party
             actions by Rule 14(c) Defendants in the Limitation Action and Defendants in
             the Bundle A Cases

4-20-2011    Monition Date (re Limitation)
             (including deadline for BP to file claim in
             Limitation and/or other cross-claim and/or third-
             party complaint seeking any subrogation,
             contribution and/or indemnity under OPA, per
             contract, or other applicable law)

5-2-2011     Identify one or more PI/Wrongful Death Limitation action cases and Robins Dry
             Dock cases filed in EDLA and designated for Bench trial under Rule 9(h) for
             February 2012 Trial of Liability, Limitation, Exoneration and Fault allocation,
             and July 2012 trial of Damages.

8-15-2011    Expert Reports served by Limitation action parties with burden of proof on
             negligence and unseaworthiness

9-15-2011    Expert Reports from Vessel Owner / Petitioner in Limitation

10-17-2011   All February 2012 Trial Defendants, 14(c) Defendants, and/or Third-Party
             Defendants to serve expert reports

11-15-2011   Rebuttal Expert Reports for the February 2012 Trial
    Case 2:10-md-02179-CJB-DPC
       Case
      Case                      Document
             TXS/4:10-cv-01854 Document
           2:10-md-02179-CJB-SS           6715-1
                                        14-2
                                 Document     FiledFiled
                                           569-1         06/20/12
                                                    06/12/12
                                                   Filed       PagePage
                                                         10/19/10   19 of29
                                                                   Page    ofof465
                                                                         419



11-16-2011 Depositions of All Experts for February 2012 Trial
thru 1-15-2012

2-1-2012           Daubert Motions for February 2012 Trial (if any)

2-1-2012           Pre-Trial Stipulation, including Witness and Exhibit Lists, and Other Pre-Trial
                   Motions for February 27, 2012 Trial

2-3-2012           Final Pre-Trial Conference for February 27, 2012 Trial

2-27-2012          Trial of Liability, Limitation, Exoneration and Fault Allocation

                   Additional Discovery, Expert Discovery, and Motion Practice Relating to July
                   2012 Trial, as needed, and/or to be established under separate Scheduling Order

7-16-2012          Trial of Damages for selected Limitation / Test Case PI/Death and Robins Dry
                   Dock Claimants, Entitlement to Punitive Damages,2 and Amount of Punitive
                   Damages, if available.




2
 Plaintiffs Liaison Counsel shall confer with Defense Liaison Counsel and the Court to determine whether the issue of
entitlement to punitive damages should be included within the February 2012 trial.
Case Case
     2:10-md-02179-CJB-DPC  Document14-3
          TXS/4:10-cv-01854 Document 6715-1   Filed
                                          Filed     06/20/12
                                                 06/12/12    Page
                                                           Page 1 of30
                                                                     7 of 65




             EXHIBIT “C”
     Case 2:10-md-02179-CJB-DPC
          Case
       Case                       Document
                TXS/4:10-cv-01854 Document
             2:10-md-02179-CJB-SS           6715-1
                                   Document14-3      Filed
                                             4083Filed     06/20/12
                                                        06/12/12
                                                    Filed           Page
                                                                  Page
                                                           09/21/11    2 of131
                                                                    Page     7ofof6 65



                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF LOUSIANA


IN RE: OIL SPILL by the OIL RIG                        *       MDL NO. 2179
DEEPWATER HORIZON in the
GULF OF MEXICO, on                                     *       SECTION: J
APRIL 20, 2010
                                                       *       JUDGE BARBIER

This Document Applies to All Cases                     *       MAG. JUDGE SHUSHAN
*********************************************************************

                        AMENDED PRETRIAL ORDER NO. 41

                        [CASE MANAGEMENT ORDER NO. 3]

         In order to continue to organize and manage this complex litigation as efficiently as

possible, upon consideration of the briefs filed by certain parties regarding this matter, and after

consultations with Liaison Counsel, Coordinating Counsel for the States, and Coordinating

Counsel for the Interests of the United States and consideration of the observations provided

during those consultations, the Court adopts this Case Management Order No. 3 with respect to

the scope and structure of the Trial of Liability, Limitation, Exoneration, and Fault

Allocation ( “Trial” ) that is scheduled to commence, as previously ordered in CMO No. 1 and

CMO No. 2, on February 27, 2012.

I.        TRIAL STRUCTURE

         The Trial will address all allocation of fault issues that may properly be tried to the Bench

without a jury, including the negligence, gross negligence, or other bases of liability of, and the

proportion of liability allocable to, the various defendants, third parties, and non- parties with

respect to the issues, including limitation of liability. The Trial will be conducted in at least three

phases. Each phase will be comprised of the presentation of evidence and consideration of


                                                   1
  Case 2:10-md-02179-CJB-DPC
       Case
    Case                       Document
             TXS/4:10-cv-01854 Document
          2:10-md-02179-CJB-SS           6715-1
                                Document14-3      Filed
                                          4083Filed     06/20/12
                                                     06/12/12
                                                 Filed           Page
                                                               Page
                                                        09/21/11    3 of232
                                                                 Page     7ofof6 65



attendant legal questions pertaining to specific issues that will be the focus of that phase as

described below. The focus of the phases of Trial will be as follows:

       Phase One [“Incident” Phase] of the Trial will address issues arising out of the conduct

 of various parties, third parties, and non-parties allegedly relevant to the loss of well control at the

 Macondo Well, the ensuing fire and explosion on the MODU DEEPWATER HORIZON on

 April 20, 2010, and the sinking of the MODU DEEPWATER HORIZON on April 22,2010, and

 the initiation of the release of oil from the Macondo Well or DEEPWATER HORIZON during

 those time periods (collectively, the “Incident”). Phase One will include issues asserted in or

 relevant to counterclaims, cross-claims, third-party claims, and/or comparative fault defenses

 as appropriate.

       Phase Two [“Source Control” Phase] of the Trial will address Source Control and

 Quantification of Discharge issues. “Source Control” issues shall consist of issues pertaining to

 the conduct of various parties, third parties, and non-parties regarding stopping the release of

 hydrocarbons stemming from the Incident from April 22, 2010 through approximately

 September 19, 2010. “Quantification of Discharge” issues shall consist of issues pertaining to

 the amount of oil actually released into the Gulf of Mexico as a result of the Incident from the

 time when these releases began until the Macondo Well was capped on approximately July 15,

 2010 and then permanently cemented shut on approximately September 19, 2010. Phase Two

 will include issues asserted in or relevant to counterclaims, cross-claims, third party claims,

 and/or comparative fault defenses, as appropriate.

       Phase Three [“Containment” Phase] of the Trial will address issues pertaining to the

 efforts by various parties, third parties, and non-parties aimed at containing oil discharged as a

 result of the Incident by, for example, controlled burning, application of dispersants, use of


                                                   2
 Case 2:10-md-02179-CJB-DPC
      Case
   Case                       Document
            TXS/4:10-cv-01854 Document
         2:10-md-02179-CJB-SS           6715-1
                               Document14-3      Filed
                                         4083Filed     06/20/12
                                                    06/12/12
                                                Filed           Page
                                                              Page
                                                       09/21/11    4 of333
                                                                Page     7ofof6 65



booms, skimming, etc. Phase Three of the trial will also address issues pertaining to the

migration paths and end locations of oil released as a result of the Incident as carried by wind,

currents, and other natural forces and as affected by efforts to contain or direct this migration.

      Phase Three will include issues asserted in or relevant to counterclaims, cross-claims,

third party claims, and/or comparative fault defenses, as appropriate.

II. ORDER OF PROCEEDINGS IN THE TRIAL

      The order of trial in Phase One will be as follows:

              First, the Claimants, through the Plaintiffs’ Steering Committee (“PSC”), the

              United States (through its Court Appointed Coordinating Counsel and its

              representatives), and the States (through the Court Appointed Coordinating

              Counsel for State Interests and his representatives), shall adduce factual and

              expert evidence in support of those parties’ claims against all defendants.

              Second, Transocean shall present factual and expert evidence on its exoneration,

              limitation, and liability defenses, as well as its counter- and cross- claims and

              third party claims against any third party 14(c) defendants.

              Third, the third-party defendants shall present their factual and expert evidence

              in support of their defenses to plaintiffs’ claims and any other defendants’

              counter- and cross-claims and third party claims against them, and in support of

              their counter- and cross-claims and third party claims against other defendants.

              The Court encourages third-party defendants to confer and reach agreement as to

              their sequence of presentation, failing which, the Court will enter an order

              regarding same.

              Fourth, the PSC, the United States, and the States shall present their rebuttal


                                                 3
  Case 2:10-md-02179-CJB-DPC
       Case
    Case                       Document
             TXS/4:10-cv-01854 Document
          2:10-md-02179-CJB-SS           6715-1
                                Document14-3      Filed
                                          4083Filed     06/20/12
                                                     06/12/12
                                                 Filed           Page
                                                               Page
                                                        09/21/11    5 of434
                                                                 Page     7ofof6 65



                evidence.

        The Court will enter orders at a later date regarding the sequence of proceedings for

Phase Two and Phase Three of the Trial. The record will be held open between Phases of the

Trial unless the Court determines it is appropriate to deem the record closed on the issues in a

particular Phase because the record has been sufficiently developed to permit final rulings on

those issues.

        All parties shall present evidence relevant to a particular Phase during that Phase and

should not expect they will be permitted to fill evidentiary gaps in one Phase by presentation of

evidence in a subsequent Phase; provided, however, that there may be circumstances in which it

is appropriate to present evidence in one phase that is relevant to another phase -- such as, but

not limited to, where the evidence is relevant to more than one phase or where efficiency is best

served by permitting evidence to be admitted in more than one phase.

III.    FINAL FINDINGS OF FACT AND CONCLUSIONS OF LAW

        The Court anticipates that it will direct the parties to submit proposed findings of fact

and conclusions of law promptly after the conclusion of each Phase of the Trial and final

proposed findings of fact and conclusions of law regarding all evidence and legal issues in the

liability portion(s) of the Trial promptly after the conclusion of Phase Three of the Trial.

        At the end of each Phase of the Trial and after consideration of the parties’ submissions,

the Court may decide to issue partial Findings of Fact and Conclusions of Law for that Phase if

it deems the record adequately developed.         If the Court does not find it appropriate to enter

Findings of Fact and Conclusions of Law with respect to any issues tried until the conclusion of

all Trial Phases, the Court may defer issuing its Findings of Fact and Conclusions of Law until

the conclusion of all phases of the liability and limitation trial.


                                                   4
  Case 2:10-md-02179-CJB-DPC
       Case
    Case                       Document
             TXS/4:10-cv-01854 Document
          2:10-md-02179-CJB-SS           6715-1
                                Document14-3      Filed
                                          4083Filed     06/20/12
                                                     06/12/12
                                                 Filed           Page
                                                               Page
                                                        09/21/11    6 of535
                                                                 Page     7ofof6 65



IV.     PRETRIAL PROCEEDINGS

        Discovery and other pretrial proceedings for Phase One will continue to be conducted in

accordance with the provisions of CMO No. 1 (Rec. Doc. 569), CMO No. 2 (Rec. Doc.1506),

and other applicable Pretrial Orders, as the provisions of those Orders may be applied or

modified by future orders of the Court and in conferences conducted by the undersigned or by

Magistrate Judge Shushan.

        After consulting with Plaintiffs’ Liaison Counsel, Coordinating Counsel for the State

Interests, Coordinating Counsel for the United States, and Defendants’ Liaison Counsel, the

Court will enter additional Pretrial Orders regarding the scope and schedule for discovery and

other pretrial proceedings with respect to Phase Two and Phase Three of the Trial. Subject to

further consideration and specification, the Court anticipates that discovery and other pretrial

proceedings for Phase Two of the Trial and possibly for Phase Three of the Trial will likely need

to be conducted concurrently with pretrial proceedings for and the conduct of Phase One of the

Trial, and that discovery and other pretrial proceedings for Phase Three of the Trial will likely

need to be conducted concurrently with pretrial proceedings for and the conduct of Phase Two

of the trial.

        The Trial will stand in recess between Phase One and Phase Two of the Trial and

between Phase Two and Phase Three of the Trial. The Court will determine during Phase One of

the Trial the length of the recess before commencement of Phase Two of the Trial, and will

determine during Phase Two of the Trial the length of the recess before commencement of

Phase Three of the Trial. The Court expects that discovery for Phases Two and Three of the

Trial will be largely completed in advance of those Phases and therefore expects that the

recesses will not be used primarily for discovery for Phases Two and Three.


                                                5
     Case 2:10-md-02179-CJB-DPC
          Case
       Case                       Document
                TXS/4:10-cv-01854 Document
             2:10-md-02179-CJB-SS           6715-1
                                   Document14-3      Filed
                                             4083Filed     06/20/12
                                                        06/12/12
                                                    Filed           Page
                                                                  Page
                                                           09/21/11    7 of636
                                                                    Page     7ofof6 65



V.       SUPPLEMENTATION OF AND AMENDMENTS TO THIS ORDER

         The provisions of this Order are provisional and may be supplemented or modified either

sua sponte or on motion by any party as may become necessary.



New Orleans, Louisiana, this 21st day of September, 2011.




                                                    __________________________________
                                                           CARL J. BARBIER
                                                     UNITED STATES DISTRICT JUDGE




                                                6
Case Case
     2:10-md-02179-CJB-DPC  Document14-4
          TXS/4:10-cv-01854 Document 6715-1   Filed
                                          Filed     06/20/12
                                                 06/12/12    Page
                                                           Page 1 of37
                                                                     4 of 65




            EXHIBIT “D”
     Case 2:10-md-02179-CJB-DPC
          Case
       Case                       Document
                TXS/4:10-cv-01854 Document
             2:10-md-02179-CJB-SS           6715-1
                                   Document14-4      Filed
                                             5732Filed     06/20/12
                                                        06/12/12
                                                    Filed           Page
                                                                  Page
                                                           02/16/12    2 of138
                                                                    Page     4ofof3 65



                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

In re: Oil Spill by the Oil Rig                           MDL NO. 2179
           ADeepwater Horizon@ in the Gulf
           of Mexico, on April 20, 2010                   SECTION J

Applies to: All Cases                                     JUDGE BARBIER
                                                          MAGISTRATE JUDGE SHUSHAN

                                              ORDER

                         [Regarding Access to Trial by Press and Public]

         In connection with the trial of Phase One commencing on February 27, 2012, and

supplementing and clarifying the order entered on February 7, 2012 (rec. doc. 5613):

1.       The first and second rows on the right side of the courtroom (as you enter) will be reserved

         for press seating. All other press will have to be in one of the overflow courtrooms.

         Access to reserved press seating and all other seating in Judge Barbier=s courtroom is on a

         first come basis. The courthouse opens at 7:00 a.m.

2.       There is not a daily pass system for the press to gain access to the courthouse. A valid

         press credential/I.D. will allow the press to access the courtroom=s limited seating.

         Standing in the back of the courtroom will not be allowed.

3.       Overflow courtrooms are available for the press and public in the courthouse building,

         Room C-316, and in the Hale Boggs Federal Building, Room B-309. Live audio feed and

         evidence presentation screens will be available in these rooms.

4.       The press may access the internet through their own means. They may also subscribe to

         the wireless connection provided by Courtroom Connect: Sumit Chatterjee, 650-814-5776,

         sumit@courtroomconnect.com.

5.       The press may have access to a Areal time@ transcript by making arrangements with

         Courtroom Connect and with the court reporters through Betty DiMarco, 504-589-7721,
     Case 2:10-md-02179-CJB-DPC
          Case
       Case                       Document
                TXS/4:10-cv-01854 Document
             2:10-md-02179-CJB-SS           6715-1
                                   Document14-4      Filed
                                             5732Filed     06/20/12
                                                        06/12/12
                                                    Filed           Page
                                                                  Page
                                                           02/16/12    3 of239
                                                                    Page     4ofof3 65



         betty_dimarco@laed.uscourts.gov. Use of real time transcripts will be allowed only after

         the user files with the Court an acknowledgment that: 1) the transcript will not be

         transmitted or distributed in any form, written or electronic, outside of the Court; and 2) the

         real time transcript is not the official or final court transcript and therefore may not be

         relied upon as such.

6.       The press may subscribe to daily final certified transcripts by contacting Ms. DiMarco.

         Final transcripts are the official record and may be transmitted and distributed outside of

         the Court.

7.       The broadcast or recording of any portion of the trial (by video, audio, real time

         transcript or otherwise) is strictly prohibited. Violation of this prohibition will

         result in sanctions.

8.       Trial will take place regularly Monday through Thursday from 8:00 a.m. until 6:00 p.m.

         If Monday is a federal holiday, trial will proceed Tuesday through Friday. The week

         before Easter trial will proceed Wednesday and Thursday, April 4 and 5.

9.       The press and public may bring cell phones into the courtroom under the following

         conditions:

         a.     They are placed on silent mode;

         b.     The user steps into the hall to speak.

10.      Use of laptops, i-Pads, etc. is allowed under the following conditions:

         a.     Silence;

         b.     Not disruptive or distracting.




                                                   2
  Case 2:10-md-02179-CJB-DPC
       Case
    Case                       Document
             TXS/4:10-cv-01854 Document
          2:10-md-02179-CJB-SS           6715-1
                                Document14-4      Filed
                                          5732Filed     06/20/12
                                                     06/12/12
                                                 Filed           Page
                                                               Page
                                                        02/16/12    4 of340
                                                                 Page     4ofof3 65



11.   Deposition transcripts of witnesses who will not be appearing in person at trial will be

      proffered for the record. Portions of video depositions may be proffered for the record if

      played at trial.

12.   The Court will have the parties arrange to have depositions, expert reports and exhibits

      made available to the press and public on a weekly basis.

      New Orleans,
      New Orleans, Louisiana
                   Louisiana,this
                               this16th
                                    ____dayday
                                            of of
                                               February, 2012.
                                                  ______________, 2012.




                                                          CARL J. BARBIER
                                                          United States District Judge


                                                       United States District Judge




                                              3
Case Case
     2:10-md-02179-CJB-DPC  Document14-5
          TXS/4:10-cv-01854 Document 6715-1   Filed
                                          Filed     06/20/12
                                                 06/12/12    Page
                                                           Page 1 of41
                                                                     8 of 65




             EXHIBIT “E”
  Case 2:10-md-02179-CJB-DPC
       Case
    Case  2:10-md-02179-CJB-SS Document
             TXS/4:10-cv-01854 Document
                                Document 6715-1
                                        14-5      Filed
                                          6592Filed     06/20/12
                                                     06/12/12
                                                 Filed 05/30/12  Page
                                                               Page    142
                                                                    2 of
                                                                 Page    ofof
                                                                         8 7 65

                                                                                                            44538211



                            UNITED STATES DISTRICT COURT                                                May 30 2012
                                                                                                          2:43PM

                           EASTERN DISTRICT OF LOUISIANA




IN RE: OIL SPILL by the OIL RIG                        *            MDL NO. 2179
DEEPWATER HORIZON in the
GULF OF MEXICO, on                                     *            SECTION: J
APRIL 20, 2010
                                                       *            JUDGE BARBIER
   This Document Applies to: All Cases
                                                       *            MAG. JUDGE SHUSHAN
         (Including No. 10-2771)

******************************************************************************


                     SECOND AMENDED PRETRIAL ORDER NO. 41

                           [CASE MANAGEMENT ORDER NO. 4]

       In order to continue to organize and manage this complex litigation as efficiently as

possible, and upon consideration of the briefs filed by certain parties regarding this matter, and in

light of the filings, on April 18, 2012, of proposed settlements between BP Exploration &

Production Inc. and BP America Production Company (collectively, “BP”) and certain plaintiffs

(“the proposed BP-PSC Settlements,” see Rec. Docs. 6266, 6267), and after consultations with

Liaison Counsel, Coordinating Counsel for the States, and Coordinating Counsel for the Interests

of the United States, and consideration of the observations provided during those consultations,

the Court adopts this Case Management Order No. 4 with respect to the scope and structure of

the Trial of Liability, Limitation, Exoneration, and Fault (“Trial”) scheduled to re-commence on

January 14, 2013, following the Court’s completion of its consideration of whether or not to

grant final approval of the proposed BP-PSC Settlements.
     Case 2:10-md-02179-CJB-DPC
          Case
       Case  2:10-md-02179-CJB-SS Document
                TXS/4:10-cv-01854 Document
                                   Document 6715-1
                                           14-5      Filed
                                             6592Filed     06/20/12
                                                        06/12/12
                                                    Filed 05/30/12  Page
                                                                  Page    243
                                                                       3 of
                                                                    Page    ofof
                                                                            8 7 65



I.        TRIAL STRUCTURE

          The Trial will address fault issues that have not previously been disposed of or resolved

by settlement, summary judgment, or stipulation and that may properly be tried to the Bench

without a jury, including the negligence, gross negligence, or other bases of liability of the

various defendants with respect to the issues, including limitation of liability. The Trial will be

conducted in at least two phases. Each phase will be comprised of the presentation of evidence

and consideration of attendant legal questions pertaining to specific issues that will be the focus

of that phase as described below. The focus of the phases of Trial will be as follows:

          Phase One [“Incident” Phase] of the Trial will address issues arising out of the conduct

of various parties allegedly relevant to the loss of well control at the Macondo Well, the ensuing

fire and explosion on the MODU DEEPWATER HORIZON on April 20, 2010, and the sinking

of the MODU DEEPWATER HORIZON on April 22, 2010, and the initiation of the release of

oil from the Macondo Well or DEEPWATER HORIZON during those time periods

(collectively, the “Incident”).     Phase One may include issues asserted in or relevant to

counterclaims, cross-claims, third-party claims, and/or comparative fault defenses, as

appropriate, to the extent such claims have not previously been dismissed or resolved by

settlement, summary judgment, or stipulation.1

          Phase Two [“Source Control” and “Quantification” Phase] of the Trial will address

Source Control and Quantification of Discharge issues. “Source Control” issues shall consist of

issues pertaining to the conduct or omissions of BP, Transocean, or other relevant parties

regarding stopping the release of hydrocarbons stemming from the Incident from April 22, 2010

      1
        Anadarko Petroleum Corporation, and Anadarko E&P Company LP (together “Anadarko”) and
      the United States previously stipulated, and the Court Ordered, that Anadarko shall not
      participate in the Phase One Trial. The said stipulation and Order shall remain in effect for
      purposes of this Phase One Trial herein.


                                                  2
  Case 2:10-md-02179-CJB-DPC
       Case
    Case  2:10-md-02179-CJB-SS Document
             TXS/4:10-cv-01854 Document
                                Document 6715-1
                                        14-5      Filed
                                          6592Filed     06/20/12
                                                     06/12/12
                                                 Filed 05/30/12  Page
                                                               Page    344
                                                                    4 of
                                                                 Page    ofof
                                                                         8 7 65



through approximately September 19, 2010 (including the alleged failure by BP and Transocean

to prepare for a blow-out and spill prior to April 20, 2010). “Quantification of Discharge” issues

shall consist of issues pertaining to the amount of oil actually released into the Gulf of Mexico as

a result of the Incident from the time when these releases began until the Macondo Well was

capped on approximately July 15, 2010 and then permanently cemented shut on approximately

September 19, 2010. Phase Two may include issues asserted in or relevant to counterclaims,

cross-claims, third party claims, and/or comparative fault defenses, as appropriate.

           Subsequent Proceedings and Issues. To the extent triable issues pertaining to any parties

remain unresolved by Phase One, Phase Two, settlements, motion practice, or stipulation, such trials

will be established pursuant to further Order of the Court following further consultation with the

parties.

II.        ORDER OF PROCEEDINGS IN THE TRIAL

           The order of trial in Phase One will be as follows:

                  First, the Claimants, through the Plaintiffs’ Steering Committee (“PSC”),

                  the United States (through its Court Appointed Coordinating Counsel and

                  its representatives), and the States (through the Court Appointed

                  Coordinating Counsel for State Interests and their representatives), shall

                  adduce factual and expert evidence in support of those parties’ claims

                  against all defendants that have not been dismissed or resolved by

                  settlement, summary judgment, or stipulation.


                  Second, Transocean shall present factual and expert evidence on its

                  exoneration, limitation, and liability defenses, as well as any counter- and

                  cross-claims and third party claims against any third party 14(c)


                                                    3
Case 2:10-md-02179-CJB-DPC
     Case
  Case  2:10-md-02179-CJB-SS Document
           TXS/4:10-cv-01854 Document
                              Document 6715-1
                                      14-5      Filed
                                        6592Filed     06/20/12
                                                   06/12/12
                                               Filed 05/30/12  Page
                                                             Page    445
                                                                  5 of
                                                               Page    ofof
                                                                       8 7 65



           defendants that have not been resolved by settlement, summary judgment,

           or stipulation.


           Third, the third-party defendants shall present their factual and expert

           evidence in support of their defenses to plaintiffs’ claims and any other

           defendants’ counter- and cross-claims and third party claims against them,

           and in support of any counter- and cross-claims and third party claims

           against other defendants that have not been dismissed or resolved by

           settlement, summary judgment, or stipulation.       The Court encourages

           third-party defendants to confer and reach agreement as to their sequence

           of presentation, failing which, the Court will enter an order regarding

           same.


           Fourth, the Claimants, the United States, and the States shall present their

           rebuttal evidence.


    Phase One of the Trial will commence on January 14, 2013.

    The order of trial in Phase Two will be as follows:

           First, the Claimants, through the PSC, United States through its

           Coordinating Counsel and its representatives, and the States, through their

           Coordinating Counsel and their representatives, shall adduce factual and

           expert evidence in support of those parties’ Source Control and/or

           Quantification claims against BP, Transocean, or other relevant parties to

           the extent such Quantification and/or Source Control claims have not been

           dismissed or resolved by settlement, summary judgment, or stipulation.


                                             4
  Case 2:10-md-02179-CJB-DPC
       Case
    Case  2:10-md-02179-CJB-SS Document
             TXS/4:10-cv-01854 Document
                                Document 6715-1
                                        14-5      Filed
                                          6592Filed     06/20/12
                                                     06/12/12
                                                 Filed 05/30/12  Page
                                                               Page    546
                                                                    6 of
                                                                 Page    ofof
                                                                         8 7 65



               Second, the relevant defendants shall present their factual and expert

               evidence in support of their defenses to plaintiffs’ Quantification and/or

               Source Control claims. The Court encourages the defendants to confer

               and reach agreement as to their sequence of presentation, failing which,

               the Court will enter an order regarding same.


               Third, the Claimants, United States and the States shall present their rebuttal

               evidence.

       The record will be held open between Phases of the Trial unless the Court determines it is

appropriate to deem the record closed on the issues in a particular Phase because the record has

been sufficiently developed to permit final rulings on those issues.

       All parties shall present evidence relevant to a particular Phase during that Phase and

should not expect they will be permitted to fill evidentiary gaps in one Phase by presentation of

evidence in a subsequent Phase; provided, however, that there may be circumstances in which it

is appropriate to present evidence in one phase that is relevant to another phase — such as, but

not limited to, where the evidence is relevant to more than one phase or where efficiency is best

served by permitting evidence to be admitted in more than one phase.

III.   FINAL FINDINGS OF FACT AND CONCLUSIONS OF LAW

       The Court anticipates that it will direct the parties to submit proposed findings of fact and

conclusions of law promptly after the conclusion of each Phase of the Trial and final proposed

findings of fact and conclusions of law regarding all evidence and legal issues in the liability

portion(s) of the Trial promptly after the conclusion of Phase Two of the Trial.

       At the end of each Phase of the Trial and after consideration of the parties’ submissions,

the Court may decide to issue partial Findings of Fact and Conclusions of Law for that Phase if it


                                                 5
    Case 2:10-md-02179-CJB-DPC
         Case
      Case  2:10-md-02179-CJB-SS Document
               TXS/4:10-cv-01854 Document
                                  Document 6715-1
                                          14-5      Filed
                                            6592Filed     06/20/12
                                                       06/12/12
                                                   Filed 05/30/12  Page
                                                                 Page    647
                                                                      7 of
                                                                   Page    ofof
                                                                           8 7 65



deems the record adequately developed. If the Court does not find it appropriate to enter

Findings of Fact and Conclusions of Law with respect to any issues tried until the conclusion of

all Trial Phases, the Court may defer issuing its Findings of Fact and Conclusions of Law until

the conclusion of all phases of the liability and limitation trial.

IV.       PRETRIAL PROCEEDINGS

          Discovery and other pretrial proceedings for Phase Two2 will continue to be conducted in

accordance with the provisions of CMO No. 1 (Rec. Doc. 569), CMO No. 2 (Rec. Doc.1506),

CMO No. 3 (Rec. Doc. 4083), and other applicable Pretrial Orders, as the provisions of those

Orders may be applied or modified by future orders of the Court and in conferences conducted

by the undersigned or by Magistrate Judge Shushan. After consulting with Plaintiffs’ Liaison

Counsel, Coordinating Counsel for the States, Coordinating Counsel for the United States

Interests, and Defendants’ Liaison Counsel, the Court will enter additional Pretrial Orders

regarding the scope and schedule for discovery and other pretrial proceedings with respect to the

Trial.

          The Trial will stand in recess for approximately two to three weeks between Phase One

and Phase Two of the Trial, or for such time as the Court deems appropriate.




2
      Phase One discovery is closed with a few exceptions recognized by Magistrate Judge Shushan. Any further
      Phase One discovery will be conducted only with her permission and supervision.


                                                      6
     Case 2:10-md-02179-CJB-DPC
          Case
       Case  2:10-md-02179-CJB-SS Document
                TXS/4:10-cv-01854 Document
                                   Document 6715-1
                                           14-5      Filed
                                             6592Filed     06/20/12
                                                        06/12/12
                                                    Filed 05/30/12  Page
                                                                  Page    748
                                                                       8 of
                                                                    Page    ofof
                                                                            8 7 65



V.       SUPPLEMENTATION OF AND AMENDMENTS TO THIS ORDER

         The provisions of this Order are provisional and may be supplemented or modified either

sua sponte or on motion by any party as may become necessary.



New Orleans, Louisiana, this 30th day of May, 2012.




                                                             CARL J. BARBIER
                                                       UNITED STATES DISTRICT JUDGE




                                                7
Case Case
     2:10-md-02179-CJB-DPC  Document14-6
          TXS/4:10-cv-01854 Document 6715-1   Filed
                                          Filed     06/20/12
                                                 06/12/12    Page
                                                           Page 1 of49
                                                                     2 of 65




             EXHIBIT “F”
  Case 2:10-md-02179-CJB-DPC
       Case
    Case                       Document
             TXS/4:10-cv-01854 Document
          2:10-md-02179-CJB-SS           6715-1
                                Document14-6      Filed
                                          5887Filed     06/20/12
                                                     06/12/12
                                                 Filed           Page
                                                               Page
                                                        02/26/12    2 of150
                                                                 Page     2ofof1 65



                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

 In re: Oil Spill by the Oil Rig                    *        MDL No. 2179
       “Deepwater Horizon” in the Gulf              *
       of Mexico, on April 20, 2010                 *        SECTION J
                                                    *
 Applies to:                                        *        JUDGE BARBIER
 All cases                                          *
                                                    *        MAGISTRATE SHUSHAN


                                            ORDER

       For reasons of judicial efficiency and to allow the parties to make further progress in their

settlement discussions, the Court, on its own motion, issues the following Order:

       IT IS ORDERED that Phase I of the trial scheduled to commence February 27, 2012, is

ADJOURNED until Monday, March 5, 2012 at 8:00 a.m.

       New Orleans, Louisiana, this 26th day of February, 2012.




                                                     ________________________________
                                                           United States District Judge
CaseCase
    2:10-md-02179-CJB-DPC   Document14-7
         TXS/4:10-cv-01854 Document  6715-1
                                         FiledFiled 06/20/12
                                                06/12/12     Page
                                                          Page 1 of51
                                                                   12of 65




            EXHIBIT “G”
    Case 2:10-md-02179-CJB-DPC
      Case
        Case2:10-md-02179-CJB-SS Document
              TXS/4:10-cv-01854 Document
                                  Document6715-1
                                         14-7
                                           6347   Filed
                                              Filed
                                                  Filed  06/20/12
                                                     06/12/12
                                                        04/24/12  Page
                                                               Page 2 of152
                                                                  Page    ofof
                                                                         12 2 65



                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL by the OIL RIG                        '            MDL NO. 2179
  “DEEPWATER HORIZON” in the                           '
  GULF OF MEXICO, on APRIL 20, 2010                    '            SECTION: J
                                                       '
                                                       '
This document relates to:                              '
Joshua Kritzer, et al v. Transocean, Ltd., et al'
(No. 2:10-cv-04427)                               '                 JUDGE BARBIER
                                                  '                 MAG. JUDGE SHUSHAN

           Plaintiff Rhonda Burkeen’s Motion for Suggestion of Remand to
                                 Transferor Court

          Subject to her motions to remand to state court, Plaintiff Rhonda Burkeen respectfully

moves this Honorable Court to file a suggestion of remand to the Judicial Panel on

Multidistrict Litigation (“JPML”) so her case can be transferred back to the Transferor

Court.1       Rhonda Burkeen is the widow of Aaron “Dale” Burkeen and the personal

representative of his estate. Dale was the crane operator killed in the April 20, 2010

explosion. She filed her case in Texas state court where it was wrongfully removed to

federal court by Cameron on the basis of OCSLA. Burkeen timely filed a motion to remand.

Before the motion was ruled on, the JPML transferred the case to MDL-2179 for

consolidated pretrial proceedings. Her case is classified as a Bundle A case. Now that

pretrial proceedings are complete, the Court should file a suggestion of remand with the

JPML. For the reasons more fully explained in the accompanying memorandum, the Court

should grant Burkeen’s motion.




1
 The Transferor Judge was the Honorable Sim Lake. The case was pending in the Southern District of Texas. The
style of the case was Joshua Kritzer, et al v. Transocean, Ltd., et al, C.A. 4:10-CV-01854.
  Case 2:10-md-02179-CJB-DPC
    Case
      Case2:10-md-02179-CJB-SS Document
            TXS/4:10-cv-01854 Document
                                Document6715-1
                                       14-7
                                         6347   Filed
                                            Filed
                                                Filed  06/20/12
                                                   06/12/12
                                                      04/24/12  Page
                                                             Page 3 of253
                                                                Page    ofof
                                                                       12 2 65



                                        Conclusion

       Burkeen requests that the Court grant her motion.

                                   Respectfully Submitted,

                                   ARNOLD & ITKIN LLP

                                   /s/ Cory D. Itkin
                                   _________________________________
                                   Kurt B. Arnold, Texas Bar No. 24036150
                                   Jason A. Itkin, Texas Bar No. 24032461
                                   Cory D. Itkin, Texas Bar No. 24050808
                                   M. Paul Skrabanek, Texas Bar No. 24063005
                                   Michael E. Pierce, Texas Bar No. 24039117
                                   1401 McKinney Street, Suite 2550
                                   Houston, Texas 77010
                                   Telephone: (713) 222-3800
                                   Facsimile: (713) 222-3850
                                   karnold@arnolditkin.com
                                   jitkin@arnolditkin.com
                                   citkin@arnolditkin.com
                                   pskrabanek@arnolditkin.com
                                   mpierce@arnolditkin.com



                             CERTIFICATE OF SERVICE

        I hereby certify that the above and foregoing has been served on All Counsel by
electronically uploading the same to Lexis Nexis File & Serve in accordance with Pretrial
Order No. 12, and that the foregoing was electronically filed with the Clerk of Court of the
United States District Court for the Eastern District of Louisiana by using the CM/ECF
System, which will send a notice of electronic filing in accordance with the procedures
established in MDL 2179, on April 24, 2012.

                                   /s/ Cory D. Itkin
                                   _________________________________
                                   Cory D. Itkin




                                             2
  Case
   Case2:10-md-02179-CJB-DPC
      Case
         2:10-md-02179-CJB-SS  Document
            TXS/4:10-cv-01854 Document  6715-1
                               Document14-7 FiledFiled
                                        6347-1   Filed 06/20/12
                                                   06/12/12
                                                       04/24/12 Page
                                                             Page 4 of54
                                                                Page  112ofof565



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL by the OIL RIG                   '       MDL NO. 2179
  “DEEPWATER HORIZON” in the                      '
  GULF OF MEXICO, on APRIL 20, 2010               '       SECTION: J
                                                  '
                                                  '
This document relates to:                         '
Joshua Kritzer, et al v. Transocean, Ltd., et al'
(No. 2:10-cv-04427)                               '       JUDGE BARBIER
                                                  '       MAG. JUDGE SHUSHAN

  Plaintiff Rhonda Burkeen’s Memorandum in Support of Plaintiff’s Motion
                for Suggestion of Remand to Transferor Court

       The Court should file a suggestion of remand with the JPML because pretrial

proceedings are complete.

                                                 I.

                                               Facts

       Aaron “Dale” Burkeen worked for Transocean for 10 years. He was happily married

to Rhonda Burkeen and they had a son together. Dale also helped raise his daughter from a

prior relationship. April 20, 2010 would have been Rhonda and Dale’s eighth wedding

anniversary. Tragically, he was killed in the Deepwater Horizon explosion that day. Rhonda

and Dale’s children can take some comfort knowing that Dale died a hero. After the first

explosion, instead of evacuating, Dale stayed to cradle the crane so it would not pose a

danger to his fellow crew members as they rushed to the rig’s life boats. After securing the

crane, he tried to escape the flames via a staircase in an attempt to escape the rig.

Unfortunately, the second blast went off. It blew Burkeen from the staircase to the floor.
    Case
     Case2:10-md-02179-CJB-DPC
        Case
           2:10-md-02179-CJB-SS  Document
              TXS/4:10-cv-01854 Document  6715-1
                                 Document14-7 FiledFiled
                                          6347-1   Filed 06/20/12
                                                     06/12/12
                                                         04/24/12 Page
                                                               Page 5 of55
                                                                  Page  212ofof565



        As a result of this tragedy, Rhonda filed a Jones Act wrongful death suit on behalf of

herself and her and Dale’s children. She filed the case in Texas state court against BP,

Cameron, Transocean, and Halliburton. All of these defendants are Texas citizens. Cameron

removed her case to federal court on the basis of OCSLA jurisdiction. Burkeen filed her first

Motion to Remand the case to state court in May 2010. 1 However, in November 2010, the

JPML transferred her case to MDL-2179 before the federal court in Texas ruled on the

motion.2 Ex. A (JPML transfer order). This Court separated each type of claim pending in

MDL-2179 into “bundles.” Pretrial Order #11 (Dkt. #569). Burkeen’s case falls into Bundle

A. Id. The Court also decided to try cases that were transferred to MDL-2179. Pretrial

Order #41 (Dkt. # 4083). The trial was designed to be wide-ranging and was supposed to

address “all allocation of fault issues . . . including the negligence, gross negligence, or other

bases of liability of, and the proportion of liability allocable to, the various defendants . . .”

Id. The first trial phase was scheduled to begin on February 27, 2012. Id. Phase One was

to “address issues arising out of the conduct of various parties . . . relevant to the loss of well

control at the Macondo Well [and] the ensuing fire and explosion on the MODU

DEEPWATER HORIZON on April 20, 2010 . . .”                            Id.   In short, Phase One would

concentrate on which parties were responsible for the damages sustained by victims of the

actual explosion (like the Burkeen family) and allocate fault to each responsible party.3

Discovery and pretrial proceedings concluded and the Court issued guidelines to the media

who wanted to report on the trial proceedings. Dkt. #5732. The day before trial was


1
  Burkeen has filed two additional motions to remand to state court since her case was transferred to MDL-2179.
2
  The Transferor Judge was the Honorable Sim Lake. The case was pending in the Southern District of Texas. The
style of the case was Joshua Kritzer, et al v. Transocean, Ltd., et al, C.A. 4:10-CV-01854.
3
  The remaining trial phases were to address the subsequent oil spill and would have no effect on Bundle A cases
like Burkeen’s. Id.

                                                       2
  Case
   Case2:10-md-02179-CJB-DPC
      Case
         2:10-md-02179-CJB-SS  Document
            TXS/4:10-cv-01854 Document  6715-1
                               Document14-7 FiledFiled
                                        6347-1   Filed 06/20/12
                                                   06/12/12
                                                       04/24/12 Page
                                                             Page 6 of56
                                                                Page  312ofof565



scheduled to begin, the Court sua sponte ordered a one week continuance. Dkt. #5887. The

continuance was not granted because more discovery was needed or because the case was not

ready for trial. Instead, it was granted because the PSC and BP were on the verge of entering

into a putative class action settlement (which would not encompass Burkeen’s claim) and the

Court wanted to give the parties more time to negotiate. Id.

       Against this background, Burkeen requests that the Court file a suggestion of remand

with the JPML. An MDL court only has authority to preside over pretrial proceedings. It

has no authority to actually try cases that are transferred to it. When pretrial proceedings are

concluded, the case must be transferred case to the Transferor Court. Here, it is clear that

pretrial proceedings are concluded for Bundle A claims like Burkeen’s. All that is left to do

is try those cases. This cannot be done in an MDL court. Consequently, the Court should

file a suggestion of remand with the JPML.

                                              II.

                        The Court Should Grant Burkeen’s Motion

       Burkeen’s case was transferred to MDL-2179 pursuant to 28 U.S.C. § 1407 for

“coordinated or consolidated pretrial proceedings.” Ex. A; See also 28 U.S.C. § 1407(a).

Section 1407 “imposes a duty on the Panel to remand any such action to the original district

‘at or before the conclusion of such pretrial proceedings.’” Lexecon Inc. v. Milberg Weiss

Bershad Hynes & Lerach, 523 U.S. 26, 28 (1988); In re Vioxx Products Liab. Litig., 478 F.

Supp. 2d 897, 903 (E.D. La. 2007) (“[I]t is clear that the court cannot try these cases, but

rather must remand them to the transferor forum when pretrial discovery is complete.”).

Before asking the JPML to remand a case, it is customary to seek a suggestion of remand

from the Transferee Court.

                                               3
  Case
   Case2:10-md-02179-CJB-DPC
      Case
         2:10-md-02179-CJB-SS  Document
            TXS/4:10-cv-01854 Document  6715-1
                               Document14-7 FiledFiled
                                        6347-1   Filed 06/20/12
                                                   06/12/12
                                                       04/24/12 Page
                                                             Page 7 of57
                                                                Page  412ofof565



      Here, there can be no dispute that pretrial proceedings are complete. The Court

intended to try all issues related to liability on Bundle A claims nearly 2 months ago.

“Pretrial” proceedings are obviously complete when the actual trial is ready to begin.

Consequently, the Court should file a suggestion of remand with the JPML.

                                           III.

                                       Conclusion

      The Court should file a suggestion of remand with the JPML.

                                  Respectfully Submitted,

                                  ARNOLD & ITKIN LLP

                                  /s/ Cory D. Itkin
                                  _________________________________
                                  Kurt B. Arnold, Texas Bar No. 24036150
                                  Jason A. Itkin, Texas Bar No. 24032461
                                  Cory D. Itkin, Texas Bar No. 24050808
                                  M. Paul Skrabanek, Texas Bar No. 24063005
                                  Michael E. Pierce, Texas Bar No. 24039117
                                  1401 McKinney Street, Suite 2550
                                  Houston, Texas 77010
                                  Telephone: (713) 222-3800
                                  Facsimile: (713) 222-3850
                                  karnold@arnolditkin.com
                                  jitkin@arnolditkin.com
                                  citkin@arnolditkin.com
                                  pskrabanek@arnolditkin.com
                                  mpierce@arnolditkin.com




                                            4
  Case
   Case2:10-md-02179-CJB-DPC
      Case
         2:10-md-02179-CJB-SS  Document
            TXS/4:10-cv-01854 Document  6715-1
                               Document14-7 FiledFiled
                                        6347-1   Filed 06/20/12
                                                   06/12/12
                                                       04/24/12 Page
                                                             Page 8 of58
                                                                Page  512ofof565



                             CERTIFICATE OF SERVICE

        I hereby certify that the above and foregoing has been served on All Counsel by
electronically uploading the same to Lexis Nexis File & Serve in accordance with Pretrial
Order No. 12, and that the foregoing was electronically filed with the Clerk of Court of the
United States District Court for the Eastern District of Louisiana by using the CM/ECF
System, which will send a notice of electronic filing in accordance with the procedures
established in MDL 2179, on April 24, 2012.

                                   /s/ Cory D. Itkin
                                   _________________________________
                                   Cory D. Itkin




                                             5
Case
 Case2:10-md-02179-CJB-DPC
    Case
       2:10-md-02179-CJB-SS  Document
          TXS/4:10-cv-01854 Document  6715-1
                             Document14-7 FiledFiled
                                      6347-2   Filed 06/20/12
                                                 06/12/12
                                                     04/24/12 Page
                                                           Page 9 of59
                                                              Page  112ofof465




             EXHIBIT “A”
Case
 Case2:10-md-02179-CJB-DPC
   Case
  Case 2:10-md-02179-CJB-SS
          TXS/4:10-cv-01854
        4:10-cv-01854        Document
                            Document
                              Document
                       Document        6715-1
                                     14-7   FiledFiled
                                       6347-2
                                44 Filed in TXSD Filed 06/20/12
                                                  06/12/12
                                                       04/24/12  Page
                                                                  10 of160
                                                             PagePage
                                                   on 12/06/10   Page     ofof3465
                                                                        212
                                                                         of




Dec 01 2010
Case
 Case2:10-md-02179-CJB-DPC
   Case
  Case 2:10-md-02179-CJB-SS
          TXS/4:10-cv-01854
        4:10-cv-01854        Document
                            Document
                              Document
                       Document        6715-1
                                     14-7   FiledFiled
                                       6347-2
                                44 Filed in TXSD Filed 06/20/12
                                                  06/12/12
                                                       04/24/12  Page
                                                                  11 of261
                                                             PagePage
                                                   on 12/06/10   Page     ofof3465
                                                                        312
                                                                         of
Case
 Case2:10-md-02179-CJB-DPC
   Case
  Case 2:10-md-02179-CJB-SS
          TXS/4:10-cv-01854
        4:10-cv-01854        Document
                            Document
                              Document
                       Document        6715-1
                                     14-7   FiledFiled
                                       6347-2
                                44 Filed in TXSD Filed 06/20/12
                                                  06/12/12
                                                       04/24/12  Page
                                                                  12 of362
                                                             PagePage
                                                   on 12/06/10   Page     ofof3465
                                                                        412
                                                                         of
Case Case
     2:10-md-02179-CJB-DPC  Document14-8
          TXS/4:10-cv-01854 Document 6715-1   Filed
                                          Filed     06/20/12
                                                 06/12/12    Page
                                                           Page 1 of63
                                                                     3 of 65




            EXHIBIT “H”
Case Case
     2:10-md-02179-CJB-DPC  Document14-8
          TXS/4:10-cv-01854 Document 6715-1   Filed
                                          Filed     06/20/12
                                                 06/12/12    Page
                                                           Page 2 of64
                                                                     3 of 65
Case Case
     2:10-md-02179-CJB-DPC  Document14-8
          TXS/4:10-cv-01854 Document 6715-1   Filed
                                          Filed     06/20/12
                                                 06/12/12    Page
                                                           Page 3 of65
                                                                     3 of 65
